                    THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                             WESTERN DIVISION
                          FILE NO. 5:21-CT-03270-D


 TRACEY EDWARDS,

                            Plaintiff,             MEMORANDUM OF LAW
                                                       IN SUPPORT OF
 v.                                               DEFENDANTS’ MOTION FOR
                                                    SUMMARY JUDGMENT
 TODD ISHEE, et al.,

                            Defendants.



       NOW COME Defendants, by and through undersigned counsel, and respectfully

move the Court for summary judgment on Plaintiff’s claims pursuant to Fed. R. Civ. P.

56(a), and respectfully submit this Memorandum of Law in support of Defendants’ Motion

for Summary Judgment [DE 267].

                                    INTRODUCTION

       This lawsuit alleges violations of an offender’s constitutional rights while under the

supervision of medical professionals and correctional staff at the North Carolina

Correctional Institution for Women (NCCIW). Specifically, Plaintiff alleges the use of

restraints during her pregnancy, the discontinuation of daily Suboxone treatment after she

delivered her baby, and the denial of certain postpartum mental health treatment violated

her rights under the Eighth Amendment to the United States Constitution, the Americans

with Disabilities Act, and the Rehabilitation Act. However, Plaintiff’s claims are barred by

Eleventh Amendment immunity or the doctrine of qualified immunity. Moreover, after an



         Case 5:21-ct-03270-D Document 270 Filed 11/17/23 Page 1 of 30
extensive discovery process, Plaintiff has failed to produce sufficient evidence to support

her claims. No genuine issue of material fact exists, and based on the authorities and

arguments presented below, judgment in Defendants’ favor is proper as a matter of law.

                             STATEMENT OF THE CASE

       Plaintiff commenced this litigation on September 2, 2021. [DE 1] Plaintiff’s Second

Amended Complaint, filed on April 7, 2022, is the operative complaint in this action. [DE

39] Plaintiff brings twenty-one claims against thirteen Defendants, which can be

summarized as follows:

          • Violation of the Eighth Amendment, accusing Defendants of cruel and
            unusual punishment for using restraints on Plaintiff during her pregnancy,
            transport to the hospital, labor and delivery, and postpartum period;

          • Violation of the Eighth Amendment, the ADA, and the Rehabilitation Act,
            for tapering Plaintiff off Medication for Opioid Use Disorder following
            childbirth and the immediate postpartum period; and

          • Violation of the Eighth Amendment, the ADA, and the Rehabilitation Act,
            alleging that Defendants failed to provide necessary medical and mental
            health treatment postpartum.

[DE 39] For illustrative purposes, Defendants also submit Table 1A to summarize

Plaintiff’s various claims against individual capacity and official capacity Defendants.

See Table 1A, p 3.


       Plaintiff seeks a declaratory judgment, injunctive relief, compensatory damages,

punitive damages, costs and attorneys’ fees. [DE 39]




         Case 5:21-ct-03270-D Document 270 Filed 11/17/23 Page 2 of 30
   Table 1A

                                SUMMARY OF PLAINTIFF’S CLAIMS

                         Official    Individual
        Defendant                                                        Claims
                         Capacity     Capacity

   DPS Secretary Ishee      X                     • Eighth Amendment violation for shackling
                                                  • Eighth Amendment violation for denial of MOUD
                                                  • ADA violation for denial of MOUD
                                                  • Rehabilitation Act violation for denial of MOUD
                                                  • ADA violation for denial of mental health treatment
                                                    postpartum
                                                  • Rehabilitation Act violation for denial of mental
                                                    health treatment postpartum
   Benita Witherspoon                    X        • Eighth Amendment violation for shackling
                                                  • Eighth Amendment violation for denial of MOUD
   Warden Perry             X                     • Eighth Amendment violation for shackling
                                                  • Eighth Amendment violation for denial of MOUD
   Dr. James Alexander      X            X        • Eighth Amendment violation for denial of MOUD

   Dr. Gary Junker          X            X        • Eighth Amendment violation for denial of MOUD

   Dr. Elton Amos           X            X        • Eighth Amendment violation for denial of MOUD
                                                  • Eighth Amendment violation for denial of mental
                                                    health treatment postpartum
   Kavona Gill                           X        • Eighth Amendment violation for shackling

   Tamara Brown                          X        • Eighth Amendment violation for shackling

   Nikitia Dixon                         X        • Eighth Amendment violation for shackling

   Tammy Williams                        X        • Eighth Amendment violation for shackling

   Shelda Brodie                         X        • Eighth Amendment violation for shackling

   Tianna Lynch                          X        • Eighth Amendment violation for shackling

   Lorafaith Ragano                      X        • Eighth Amendment violation for shackling




                          UNDISPUTED MATERIAL FACTS

       Pursuant to Local Civil Rule 56.1(c), Defendant incorporates by reference its

Statement of Undisputed, Material Facts [DE 268], filed contemporaneously with this

memorandum of law in support of Defendants’ motion for summary judgment.




          Case 5:21-ct-03270-D Document 270 Filed 11/17/23 Page 3 of 30
                         APPLICABLE LEGAL STANDARDS

        Summary judgment is proper where the pleadings, depositions, affidavits, and other

materials, when considered in the light most favorable to the nonmoving party, show there

is no genuine issue of material fact and the moving party is entitled to judgment as a matter

of law. Fed. R. Civ. P. 56(a), (c); Hill v. Lockheed Martin Logistics Mgmt., 354 F.3d 277,

283 (4th Cir. 2004). A fact is only “material” if proof of its existence or non-existence

could affect the outcome of the litigation, and a dispute over such a fact is only “genuine”

if the evidence is sufficient to allow a reasonable jury to return a verdict for the nonmoving

party.” Anderson v. Liberty Lobby, Inc. 477 U.S. 242, 248 (1986).

        To overcome a well-supported motion for summary judgment, the nonmoving party

must affirmatively demonstrate a genuine issue of material fact. Celotex Corp. v. Catrett,

477 U.S. 317, 324 (1986) (“Rule 56(e) therefore requires the nonmoving party to go beyond

the pleadings and . . . designate ‘specific facts showing that there is a genuine issue for

trial.’”).

        Although the evidence is viewed in the light most favorable to the nonmoving party,

any inferences drawn “must still be within the range of reasonable probability.” Sylvia Dev.

Corp. v. Calvert Cnty., 48 F.3d 810, 818 (4th Cir. 1995) (quotation omitted). Affidavits or

declarations containing self-serving assertions without objective corroboration are

insufficient to survive summary judgment. See, e.g., Evans v. Techs. Applications & Servs.

Co., 80 F.3d 954, 962 (4th Cir. 1996) (finding no error in trial court’s exclusion of several

portions of plaintiff’s affidavit). A plaintiff’s uncorroborated allegations do not amount to

evidence of “sufficient probative force to reflect a genuine issue of material fact.” Goldberg



             Case 5:21-ct-03270-D Document 270 Filed 11/17/23 Page 4 of 30
v. B. Green & Co., 836 F.2d 845, 848 (4th Cir. 1988). If the record taken as a whole cannot

lead a rational trier of fact to find for the nonmoving party, there is no genuine issue for

trial and the suit does not warrant submission to a jury. See Anderson, 477 U.S. at 248-52.

                                        ARGUMENT

   I.      Eleventh Amendment Immunity Bars Claims Brought Against Official
           Capacity Defendants.

        A claim against a state official is a claim against the state itself. Will v. Mich. Dep’t

of State Police, 491 U.S. 58, 71 (1989). The Eleventh Amendment bars claims brought

against the state in federal court. U.S. Const. amend. XI. Therefore, Plaintiff’s claims

brought against Defendants in their official capacity are barred and must be dismissed as a

matter of law.

        The Eleventh Amendment prohibits “any suit in law or equity, commenced or

prosecuted against one of the United States by Citizens of another State, or by Citizens or

Subjects of any Foreign State.” Id. Eleventh Amendment protection extends to “state

agents and state instrumentalities,” meaning arms of the state and state officials. Cash v.

Granville Cnty. Bd. of Educ., 242 F.3d 219, 222 (4th Cir. 2001). Put another way, “a suit

against a state official in his or her official capacity is not a suit against the official but

rather is a suit against the official’s office.” Will, 491 U.S. at 71. Therefore, state officers

acting in their official capacity are entitled to Eleventh Amendment immunity and

summary judgment is appropriate.

        Here, Plaintiff attempts to bring claims against the following state officers in their

official capacities:




          Case 5:21-ct-03270-D Document 270 Filed 11/17/23 Page 5 of 30
           • Todd Ishee1, in his official capacity as Secretary of the North Carolina
             Department of Public Safety (now the Department of Adult Corrections);

           • Anthony Perry2, in his official capacity as the Warden of the North Carolina
             Correctional Institution for Women;

           • Dr. James Alexander, in his official capacity as the Healthcare Facility
             Health Treatment Administrator of the North Carolina Correctional
             Institution for Women;

           • Dr. Gary Junker, in his official capacity as the Director of Health and
             Wellness Services of the Department of Public Safety (now DAC); and

           • Dr. Elton Amos, in his official capacity as the Medical Director for the North
             Carolina Correctional Institution for Women.

[DE 39] All of Plaintiff’s claims against these Defendants in their official capacities are

barred by Eleventh Amendment immunity. See, e.g., Will, 491 U.S. at 71. Accordingly,

Count I should be dismissed as to Defendants Ishee and Perry; Count II should be dismissed

as to Defendants Ishee, Perry, Alexander, Junker and Amos; and Counts III-VII should be

dismissed in their entirety. See Table 1B, p 7.

       The official capacity Defendants (i.e., Ishee, Perry, Alexander, Junker and Amos),

as extensions of the State, enjoy immunity from Plaintiff’s claims. Id. Defendants are

entitled to judgment as a matter of law pursuant to Fed. R. Civ. P. 56(a) and these claims

should be dismissed.




       1
          The current DPS Secretary, Todd Ishee, has been substituted for the DPS Secretary
at the time Plaintiff’s Complaint was filed.
        2
          The current Warden, Anthony Perry, has been substituted for the NCCIW Warden
at the time Plaintiff’s Complaint was filed.


           Case 5:21-ct-03270-D Document 270 Filed 11/17/23 Page 6 of 30
   Table 1B

                                   SUMMARY OF PLAINTIFF’S CLAIMS

                           Official     Individual
          Defendant                                                         Claims
                           Capacity      Capacity

   DPS Secretary Ishee         X                     • Eighth Amendment violation for shackling
                                                     • Eighth Amendment violation for denial of MOUD
                                                     • ADA violation for denial of MOUD
                                                     • Rehabilitation Act violation for denial of MOUD
                                                     • ADA violation for denial of mental health treatment
                                                       postpartum
                                                     • Rehabilitation Act violation for denial of mental
                                                       health treatment postpartum
   Benita Witherspoon                       X        • Eighth Amendment violation for shackling
                                                     • Eighth Amendment violation for denial of MOUD
   Warden Perry                X                     • Eighth Amendment violation for shackling
                                                     • Eighth Amendment violation for denial of MOUD
   Dr. James Alexander         X            X        • Eighth Amendment violation for denial of MOUD

   Dr. Gary Junker             X            X        • Eighth Amendment violation for denial of MOUD

   Dr. Elton Amos              X            X        • Eighth Amendment violation for denial of MOUD
                                                     • Eighth Amendment violation for denial of mental
                                                       health treatment postpartum
   Kavona Gill                              X        • Eighth Amendment violation for shackling

   Tamara Brown                             X        • Eighth Amendment violation for shackling

   Nikitia Dixon                            X        • Eighth Amendment violation for shackling

   Tammy Williams                           X        • Eighth Amendment violation for shackling

   Shelda Brodie                            X        • Eighth Amendment violation for shackling

   Tianna Lynch                             X        • Eighth Amendment violation for shackling

   Lorafaith Ragano                         X        • Eighth Amendment violation for shackling


            Legend: Claim is barred by Eleventh Amendment immunity.




   II.      Qualified Immunity Bars Plaintiff’s Claims Brought Against Individual
            Capacity Defendants.

         Under the doctrine of qualified immunity, claims brought against state actors for

individual liability are also barred so long as those individuals’ actions did not violate



           Case 5:21-ct-03270-D Document 270 Filed 11/17/23 Page 7 of 30
clearly established statutory or constitutional rights of which a reasonable person would

have known. See, e.g., Danser v. Stansberry, 772 F.3d 340, 345 (4th Cir. 2014) (reversing

district court’s denial of qualified immunity for prison officials). This doctrine “balances

two important interests—the need to hold public officials accountable when they exercise

power irresponsibly and the need to shield officials from harassment, distraction, and

liability when they perform their duties reasonably.” Id. (quoting Pearson v. Callahan, 555

U.S. 223, 231 (2009)).

       When determining whether qualified immunity applies, courts follow the two-step

approach outlined by the Supreme Court in Saucier v. Katz, 533 U.S. 194 (2001), as

modified by the Court’s later decision in Pearson. See Danser, 772 F.3d at 345. First, a

court must determine whether the undisputed facts demonstrate that the defendant’s actions

violated the plaintiff’s rights. Id. at 346 (citations omitted). “When the plaintiff has satisfied

this initial step, a court must determine whether the right at issue was clearly established at

the time of the events in question.” Id. (quotations and citations omitted). These

determinations are questions of law and appropriately made at the summary judgment stage

by a court, not at a trial by a jury. See, e.g., Willingham v. Crooke, 412 F.3d 553, 560 (4th

Cir. 2005).

       Plaintiff’s remaining claims are brought against the following individual capacity

Defendants under three theories of liability:

           • Benita Witherspoon, Kavona Gill, Tamara Brown, Nikitia Dixon, Tammy
             Williams, Shelda Brodie, Tianna Lynch, and Lorafaith Ragano for violations
             of Plaintiff’s Eighth Amendment rights related to the use of restraints (Count
             I);




          Case 5:21-ct-03270-D Document 270 Filed 11/17/23 Page 8 of 30
          • Benita Witherspoon, Dr. James Alexander, Dr. Gary Junker, and Dr. Elton
            Amos for violations of Plaintiff’s Eighth Amendment rights related to the
            denial of MOUD (Count II); and

          • Dr. Elton Amos, to the extent this claim is brought against Dr. Amos in his
            personal capacity, for violations of Plaintiff’s Eighth Amendment rights
            related to the alleged denial of mental health treatment postpartum (Count
            V).

[DE 39] To present these claims to a jury, Plaintiff must be able to demonstrate that she

had a clearly established constitutional right that was violated by each individual-capacity

Defendant. Otherwise, these Defendants are entitled to qualified immunity and Plaintiff’s

claims fail as a matter of law. E.g., Danser, 772 F.3d at 345.

       As explained below, there is no support for Plaintiff’s claims that her rights were

violated or that those rights were “clearly established” at the time of the alleged violation.

The individual-capacity Defendants acted reasonably at all times, and their actions did not

violate Plaintiff’s clearly established rights. The remaining claims, i.e., the ones not barred

outright by the Eleventh Amendment, are subject to dismissal as a matter of law under the

doctrine of qualified immunity. See, e.g., Fauconier v. Clarke, 966 F.3d 265, 280 (4th Cir.

2020) (affirming district court’s dismissal of plaintiff’s claims for damages against

defendants in their individual capacities on qualified immunity grounds).

       A. A pregnant inmate does not have a clearly established Eighth Amendment
          right to be free from restraints during transport, labor, or after delivery.

       The first step in the qualified immunity analysis is to determine whether the

undisputed facts show that Defendants’ actions violated Plaintiff’s Eighth Amendment

rights. Plaintiff alleges that she was restrained during transport, labor, and within one hour

of childbirth. [DE 39, ¶¶ 25-34] However, the record evidence demonstrates that Plaintiff


         Case 5:21-ct-03270-D Document 270 Filed 11/17/23 Page 9 of 30
was only restrained with handcuffs in the front during transport; was not restrained at all

during labor and delivery, including while receiving intravenous medication, or when

medical staff requested the restraints be removed; and was only restrained by only one leg

when holding, feeding, and bonding with her newborn while a patient at UNC Hospital, a

nonlocked facility. SUMF ¶¶ 8-9, 17-19, 26-29, 32-34, 38. There is no legal authority to

support Plaintiff’s position that the use of restraints in these settings violated Plaintiff’s

rights, and her claims should be dismissed as a matter of law.

              1. Even assuming, without conceding, that Plaintiff was restrained by
                 handcuffs or leg irons during labor, the use of restraints during labor
                 is not a violation of Plaintiff’s clearly established Eighth Amendment
                 rights.

       The allegations in the Second Amended Complaint that Plaintiff was restrained

either by handcuffs or leg shackles during labor are unsubstantiated. She has failed to

produce any evidence to support these allegations, and the record evidence reflects that she

was not restrained at all during labor or delivery. SUMF ¶¶ 28-29. However, even

assuming Plaintiff could produce evidence of this allegation sufficient to overcome

summary judgment, there is no binding case law in this jurisdiction holding that the use of

restraints during labor equates to a violation of Plaintiff’s Eighth Amendment rights.

       In fact, the only case addressing the use of restraints on pregnant offenders in this

district held that the use of restraints during labor, delivery, and shortly thereafter did not

violate a clearly established right. Fain v. Rappahannock Reg’l Jail, No. 3:12cv-293-JAG,

2013 U.S. Dist. LEXIS 86384, at *14 (E.D. Va. June 19, 2013). In that case, the plaintiff

asserted that she was kept in shackles in some form or another throughout her labor and




         Case 5:21-ct-03270-D Document 270 Filed 11/17/23 Page 10 of 30
delivery. Id. at *5. The officers averred that they followed policy and kept the plaintiff

restrained until medical personnel requested that the restraints be removed. Id. The district

court found that, even treating plaintiff’s version of the facts as true (“farfetched as it is”),

plaintiff had failed to present any controlling precedent holding that she had a clearly

established right to be free from the use of restraints during labor and delivery. Id. at *14-

16. Accordingly, defendants were entitled to qualified immunity and plaintiff’s claims were

barred. Id. at *16-17.

       Since Fain was decided, Defendants note that courts in other jurisdictions have held

that the use of restraints during labor violates a clearly established right. See Villegas v.

Metro. Gov’t of Nashville, 709 F.3d 563 (6th Cir. 2013); Nelson v. Corr. Med. Servs., 583

F.3d 522 (8th Cir. 2009); Brawley v. Washington, 712 F. Supp. 2d 1208 (W.D. Wash.

2010). These decisions, while not controlling, may of course be instructive to this Court’s

analysis. However, in order for this court to even consider those decisions in its analysis,

it would first have to find that Plaintiff met her burden to point to specific evidence in the

record, beyond her own self-serving declaration, to support her allegation that she was

restrained during labor. Accord Smith v. Perry, No. 1:16-cv-396, 2018 U.S. Dist. LEXIS

131047, at *54 (M.D.N.C. Aug. 2, 2018) (granting summary judgment on plaintiff’s

constitutional claim because bald assertions and conclusory allegations, unsupported by

record evidence, fail to provide any basis from which a reasonable fact finder could rule in

her favor); Tillery v. Borden, No. CBD-07-1092, 2010 U.S. Dist. LEXIS 92501, at *20-21

(D. Md. Sept. 3, 2010) (granting summary judgment because plaintiff’s “bald assertion is




         Case 5:21-ct-03270-D Document 270 Filed 11/17/23 Page 11 of 30
insufficient to overcome a motion for summary judgment which is supported by record

evidence.”).

       Even if Plaintiff could point to record evidence supporting her allegation that she

was restrained during labor, which she cannot, the Fourth Circuit has not recognized a

clearly established Eighth Amendment right to be free from restraints during labor, and

Defendants would be entitled to qualified immunity on this claim.

               2. A pregnant inmate does not have a clearly established Eighth
                  Amendment right to be free of restraints during transport.
       The undisputed material facts demonstrate that, while pregnant, Plaintiff was

restrained during transport to SouthLight and UNC Hospital, where she received medical

treatment. There is no case law to support Plaintiff’s position that the use of restraints

during transport violates her Eighth Amendment rights. Defendants are entitled to qualified

immunity and Plaintiff’s claim should be dismissed as a matter of law.

       The most relevant decision of which Defendants are aware involving a pregnant

inmate challenging the use of restraints during transport is Brown v. Cumberland Cnty.,

557 F. Supp. 3d 169 (D. Me. 2021). There, the plaintiff alleged that correctional officers

violated her constitutional rights when they handcuffed her at 35 weeks pregnant during

transport from the prerelease center to the main jail while accompanied by a correctional

officer. Id. at 177. State law and the correctional facility’s policy prohibited the use of

restraints on pregnant inmates. Id. at 174-75. Defendants asserted that qualified immunity

barred plaintiff’s claim because they had not violated a clearly established constitutional

right. Id. at 176.




         Case 5:21-ct-03270-D Document 270 Filed 11/17/23 Page 12 of 30
       The district court explained that the central question in determining whether a right

was clearly established is “whether the law was sufficiently clear that every reasonable

official would understand that what he is doing is unlawful.” Id. (internal quotations and

citation omitted). “The legal principle at issue must have a sufficiently clear foundation in

then-existing precedent,” the court went on, “and it must be dictated by controlling

authority or a robust consensus of cases of persuasive authority–not just suggested by

precedent.” Id. at 176-77 (internal quotations and citations omitted).

       The district court concluded that the plaintiff failed to “identify a single case in

which a court has held that it was unconstitutional to handcuff a pregnant woman who is

not in labor or immediately post-partum.” Id. at 178-79. Even acknowledging that state

law in Maine prohibited the use of restraints on a pregnant inmate at the time of the facts

giving rise to the suit (which is not the case here), the court held that, “[w]ithout case law

that establishes widespread acceptance of a federal constitutional right, state law is not

enough.” Id. at 179.

       Plaintiff here faces the same reality as the plaintiff in Brown: there is simply no clear

legal foundation or controlling authority dictating that the use of restraints on a pregnant

inmate during transport violates the inmate’s Eighth Amendment rights.

       Moreover, even a facility or agency policy prohibiting the alleged conduct by state

actors is inadequate to establish a violation of a clearly established constitutional right. See

Davis v. Scherer, 468 U.S. 183, 194 (1984) (“Officials sued for constitutional violations

do not lose their qualified immunity merely because their conduct violates some statutory

or administrative provision.”). Therefore, even if Defendants had violated DAC and/or



         Case 5:21-ct-03270-D Document 270 Filed 11/17/23 Page 13 of 30
NCCIW policy concerning the use of restraints on pregnant inmates, that evidence would

still be insufficient to support an Eighth Amendment violation. Id; see also Brown, 557 F.

Supp. 3d at 179 (quoting Irish v. Fowler, 979 F.3d 65, 76 (1st Cir. 2020) (“While a violation

of state law may bolster the plaintiff’s argument that a reasonable officer in the officer’s

circumstances would have believed that his conduct violated the Constitution it does not,

in and of itself, establish a constitutional violation.”) (cleaned up)). Nor does the fact that

the DAC policy has changed since Plaintiff’s incarceration serve as evidence that the

officers’ conduct violated Plaintiff’s constitutional rights. Fain, 2013 U.S. Dist. LEXIS

86384, at *16 (“That the defendants changed their approach does not demonstrate that their

initial policy violated the Eighth Amendment. At best, it shows a willingness to make a

change that seems reasonable, although not constitutionally required.”)

       In fact, Defendants’ actions were consistent with DAC policy. Policy F.1100,

Transporting Offenders expressly allowed the use of wrist restraints “during any internal

escort or external transport” of a pregnant offender. [DE 249-13] The applicable policy

dictated that “wrist restraints shall only be applied in the front and in such a way that the

pregnant offender may be able to protect herself and the fetus in the event of a fall.” SUMF

¶ 8. Officer’s shift notes and testimony from various individuals who accompanied and/or

observed Plaintiff during her incarceration demonstrate that while pregnant, Plaintiff was

only restrained using handcuffs on her wrists, placed at the front of her body, during

transport to an outside facility for medical treatment. SUMF ¶ 9, 27.

       Once Plaintiff was admitted to the hospital, NCCIW’s SOP D.1800 Offender

Restraints and NCCIW’s SOP H.0300 Use of Force and Restraints outlined different



         Case 5:21-ct-03270-D Document 270 Filed 11/17/23 Page 14 of 30
guidelines around the use of restraints on a pregnant offender. SUMF ¶¶ 6, 17-19, 28-34.

Upon discharge from the hospital, Plaintiff was no longer pregnant and thus would have

been subject to any policies and SOPs applicable to non-pregnant offenders. SUMF ¶ 38.

At all times, the officers complied with policy regarding whether and which restraints could

be removed. SUMF ¶¶ 6, 17-19, 28-34, 38.

       A plaintiff’s claim must be grounded in well-established law before it can be tried

before a jury. Where a plaintiff cannot identify any controlling authority holding that the

alleged conduct violated a clearly established right, the defendants are entitled to qualified

immunity and thus dismissal of Plaintiff’s claims is proper. Brown, 557 F. Supp. 3d at 178-

79. Here, like the inmate in Brown, Plaintiff cannot point to a single case where a court has

held that it was unconstitutional to restrain Plaintiff at the wrists, in front of her body,

during transport to and from the correctional facility for medical treatment. Defendants

Witherspoon, Gill, Brown, Dixon, Williams, Brodie, Lynch and Ragano are entitled to

qualified immunity and Plaintiff’s Eighth Amendment claims related to shackling should

be dismissed as a matter of law. Id.

              3. An inmate does not have a clearly established Eighth Amendment
                 right to be free of restraints after childbirth.

       For the same reasons outlined above, any claim based on the use of restraints after

Plaintiff gave birth fails as a matter of law. There is no case law that supports Plaintiff’s

claim that her Eighth Amendment rights were violated when she was handcuffed to a

wheelchair during transport to her recovery room or secured to her hospital bed by one

ankle restraint while holding her newborn. SUMF ¶¶ 32-35. Accord Fain, 2013 U.S. Dist.




         Case 5:21-ct-03270-D Document 270 Filed 11/17/23 Page 15 of 30
LEXIS 86384, at *6 (holding qualified immunity barred plaintiff’s Eighth Amendment

claims where plaintiff remained shackled in some form at all times during labor and after

delivery until she returned to the jail).

       The Fourth Circuit has explained that a court need only look to the United States

Supreme Court, the Court of Appeals for the Fourth Circuit, and the highest court of the

state in which the case arose to determine whether a right was clearly established at the

time of the alleged violation. Id. at *11. “[I]f a right is recognized in some other circuit, but

not in this one, an official will ordinarily retain the immunity defense.” Id. (quoting Jean

v. Collins, 155 F.3d 701, 709 (4th Cir. 1998), cert. granted, judgment vacated on other

grounds, 526 U.S. 1142 (1999).

       Furthermore, a clearly established right is one that is “clearly defined in a concrete

factual situation such that its contours are clear, unmistakable, and applicable to the precise

conduct at issue.” Id. at *13 (citing Anderson v. Creighton, 483 U.S. 635, 640 (1987)). In

Fain, the district court observed that at the time of the alleged unconstitutional shackling

of plaintiff, there were only two cases holding that the defendants’ conduct violated the

Eighth Amendment (neither of which were decisions from the Supreme Court, the Fourth

Circuit, or the state’s highest court). Id. Therefore, the court determined, “the defendants

could not have known that their actions violated [plaintiff’s] Eighth Amendment rights. Id.

at *15 (citations omitted). Where the legality of a particular course of action is open to

reasonable dispute, an officer is not liable under the Eighth Amendment. Id. at *15-16.

“[U]nder the doctrine of qualified immunity, ‘officials are not liable for bad guesses in gray




         Case 5:21-ct-03270-D Document 270 Filed 11/17/23 Page 16 of 30
areas; they are liable for transgressing bright lines.’” Id. at *16 (citing Wilson v. Kittoe, 337

F.3d 392, 402-03 (4th Cir. 2003).

       Plaintiff cannot identify a single case in this or any jurisdiction holding that a

pregnant offender’s constitutional rights are violated when she is placed in restraints after

delivery while admitted as a patient to an unlocked facility—i.e., a public hospital or other

birthing facility that does not employ the security measures commonplace in a correctional

facility. In Fain, the Court concluded that there was not a clearly established right to be

free of restraints during childbirth. Id. at *17. Since then, only two decisions have emerged

that provide any further guidance.

       First, in 2019, a Wisconsin district court considered a claim from a pregnant inmate

who was restrained at the wrist and ankle during transport to the hospital and during the

postpartum recovery period at the hospital. Terry v. Cty. of Milwaukee, 357 F. Supp. 3d

732 (E.D. Wisc. 2019). Restraints were removed to allow plaintiff to hold her baby and

switched to permit the IV to be moved. Id. at 742. The court determined there were genuine

issues of material fact regarding the constitutionality of a policy requiring the use of

restraints during transport without regard for an individual inmate’s medical status, security

threat, or flight risk. Id. at 756-57. The court did not conclude, however, that the use of

restraints during transport was an Eighth Amendment violation. Id.

       In 2020, a Pennsylvania district court wrestled with the question at the Rule 12 stage,

ultimately denying defendants’ motion to dismiss because the plaintiff plausibly alleged

that the individual-capacity defendants were aware of the substantial risk of harm of

shackling Plaintiff during transport to and from the hospital, while in labor, and during



         Case 5:21-ct-03270-D Document 270 Filed 11/17/23 Page 17 of 30
postpartum recovery, and that they were deliberately indifferent to that risk by shackling

plaintiff under those circumstances. Remlinger v. Lebanon Cty., No. 1:18-cv-984, 2020

U.S. Dist. LEXIS 55480, at *25-26 (M.D. Pa. March 27, 2020)

       The landscape has not changed dramatically since Fain. In this jurisdiction, a

pregnant inmate does not have a clearly established right to be free of restraints during

transport or postpartum. Defendants did not overstep a bright line or show deliberate

indifference to Plaintiff’s needs in their use of restraints before and after Plaintiff’s labor

and delivery. See Wilson, 337 F.3d at 403. Thus they are entitled to qualified immunity.

All of Plaintiff’s claims relating to the use of restraints fail and should be dismissed as a

matter of law pursuant to Fed. R. Civ. P. 56(a).

       B. An inmate does not have a clearly established Eighth Amendment right to
          continue MOUD after childbirth.

       Plaintiff’s next claim is that she had an Eighth Amendment right to continue

receiving buprenorphine after childbirth. It is undisputed that Plaintiff received a daily,

regulated dose of buprenorphine during her pregnancy through NCCIW’s medicine-

assisted treatment (MAT) program. SUMF ¶¶ 4-5. NCCIW was only authorized to provide

MAT for pregnant offenders with Opioid Use Disorder because opioid withdrawal during

pregnancy increases the risk of harm to the fetus. SUMF ¶ 3-4. NCCIW was not authorized

to provide medication for Opioid Use Disorder (MOUD) to non-pregnant offenders. SUMF

¶ 41. Only a licensed Opioid Treatment Provider can offer MOUD, and NCCIW was not a

licensed Opioid Treatment Provider. SUMF ¶ 41. Once Plaintiff delivered her baby and




         Case 5:21-ct-03270-D Document 270 Filed 11/17/23 Page 18 of 30
was no longer pregnant, she was no longer eligible to receive MAT or MOUD. SUMF ¶

41.

       Plaintiff cannot show she has a clearly established constitutional right to receive

MOUD under the governing case law. For example, in Chamberlain v. Va. Dep’t of Corr.,

No. 7:20-cv-45, 2020 U.S. Dist. LEXIS 177361 (W.D. Va. 2020), a Virginia inmate alleged

that he suffered from OUD and the denial of medication assisted treatment for OUD by the

correctional facility constituted deliberate indifference to his serious medical needs in

violation of the Eighth Amendment. Chamberlain, 2020 U.S. Dist. LEXIS 177361, at *4.

The plaintiff alleged that other inmates, including those in local jails, halfway houses, on

parole, probation and supervision, were permitted to receive MOUD but he was not. Id. at

*4-5. The district court observed that the plaintiff was receiving routine medical treatment

and monitoring in the prison, and deferred to the prison system’s individualized assessment

of the inmate’s medical needs. Id. at *15.

       Here, Plaintiff makes a similar claim. She asserts that some inmates (i.e., pregnant

inmates, including herself) were eligible for MOUD but that, following childbirth, she was

no longer eligible to receive this medical treatment. However, like the plaintiff in

Chamberlain, Plaintiff was under close monitoring of her physical and mental health needs

before, during, and after her pregnancy. SUMF ¶¶ 1-5, 11-15, 26, 39-49. This Court should

defer to NCCIW’s assessment of Plaintiff’s medical needs and dismiss Plaintiff’s claims

against Defendants in their individual capacity on qualified immunity grounds.

       Defendants have not violated Plaintiff’s Eighth Amendment rights, and certainly

did not show deliberate indifference or a culpable state of mind in tapering her opioid



        Case 5:21-ct-03270-D Document 270 Filed 11/17/23 Page 19 of 30
medication following childbirth. Defendants are entitled to qualified immunity and this

claim should be dismissed.

       C. An inmate does not have a clearly established Eighth Amendment right to
          specific mental health treatment postpartum.

       Defendant is unaware of any case law specifically addressing an offender’s

constitutional right to postpartum care in the correctional setting. Accordingly, Plaintiff is

unlikely to demonstrate that some clearly established right was violated when she was

monitored and treated for postpartum depression and anxiety in the acute and subacute

postpartum periods.

       The record evidence demonstrates that Plaintiff was monitored both at the hospital

and at the NCCIW infirmary for any physical or mental health needs related to her

pregnancy, including the postpartum period. SUMF ¶¶ 36-37, 39, 42-49. Plaintiff received

routine and appropriate care, as evidenced by both the medical records and her own

presentation. SUMF ¶¶ 39-49. “Inmates are not entitled to their preferred course of

treatment. Annarelli v. Clark, No. 7:20-cv-261, 2021 U.S. Dist. LEXIS 188505, at *12

(W.D. Va. Sep 30, 21) (citing Hixson v. Moran, 1 F.4th 297, 302-03 (4th Cir. 2021). Where

the evidence shows that a plaintiff was under the supervision and care of medical

professionals, “’[d]isagreements between an inmate and a physician over the inmate’s

proper medical care’ are not actionable absent exceptional circumstances.” Hixson, 1 F.4th

at 302-03. An Eighth Amendment violation is more than mere negligence. Id. at 303. This

case does not present exceptional circumstances warranting a novel decision by this Court

that an individual defendant is liable for not providing the specific postpartum care an




         Case 5:21-ct-03270-D Document 270 Filed 11/17/23 Page 20 of 30
inmate demands. Instead, this Court should find that there are no genuine issues of material

fact with regard to Plaintiff’s postpartum treatment and that Defendants are entitled to

judgment as a matter of law. Defendants are entitled to qualified immunity and, like

Plaintiff’s other Eighth Amendment claims, this claim should be dismissed. See Table 1C.

   Table 1C

                                 SUMMARY OF PLAINTIFF’S CLAIMS

                          Official     Individual
        Defendant                                                          Claims
                          Capacity      Capacity

   DPS Secretary Ishee       X                      • Eighth Amendment violation for shackling
                                                    • Eighth Amendment violation for denial of MOUD
                                                    • ADA violation for denial of MOUD
                                                    • Rehabilitation Act violation for denial of MOUD
                                                    • ADA violation for denial of mental health treatment
                                                      postpartum
                                                    • Rehabilitation Act violation for denial of mental
                                                      health treatment postpartum
   Benita Witherspoon                      X        • Eighth Amendment violation for shackling
                                                    • Eighth Amendment violation for denial of MOUD
   Warden Perry              X                      • Eighth Amendment violation for shackling
                                                    • Eighth Amendment violation for denial of MOUD
   Dr. James Alexander       X             X        • Eighth Amendment violation for denial of MOUD

   Dr. Gary Junker           X             X        • Eighth Amendment violation for denial of MOUD

   Dr. Elton Amos            X             X        • Eighth Amendment violation for denial of MOUD
                                                    • Eighth Amendment violation for denial of mental
                                                      health treatment postpartum
   Kavona Gill                             X        • Eighth Amendment violation for shackling

   Tamara Brown                            X        • Eighth Amendment violation for shackling

   Nikitia Dixon                           X        • Eighth Amendment violation for shackling

   Tammy Williams                          X        • Eighth Amendment violation for shackling

   Shelda Brodie                           X        • Eighth Amendment violation for shackling

   Tianna Lynch                            X        • Eighth Amendment violation for shackling

   Lorafaith Ragano                        X        • Eighth Amendment violation for shackling


           Legend: Claim is barred by Eleventh Amendment immunity
                   Claim is barred by qualified immunity




         Case 5:21-ct-03270-D Document 270 Filed 11/17/23 Page 21 of 30
   III.    Even Viewing the Evidence in the Light Most Favorable to Plaintiff,
           Plaintiff’s Eighth Amendment Claims Fail on their Face.

       The Eighth Amendment to the United States Constitution prohibits cruel and

unusual punishment. U.S. Const. amend. VIII. It imposes upon prison officials the duty to

provide humane conditions of confinement, such as adequate food, clothing, shelter, and

medical care. See, e.g., Farmer v. Brennan, 511 U.S. 825, 832 (1994). The Fourth Circuit

utilizes the two-part inquiry to determine whether prison officials violate their duty under

the Eighth Amendment to provide humane conditions of confinement. Williams v. Branker,

462 F. App’x 348, 353 (4th Cir. 2012). First, the inquiry asks whether the conditions of

confinement objectively inflict harm. Id. (citing Farmer, 511 U.S. at 834). Second, the

inquiry asks whether prison officials subjectively acted with deliberate indifference to an

inmate’s health or safety, that is, with a “sufficiently culpable state of mind.” Farmer, 511

U.S. at 834. The deliberate indifference standard “sets a high bar to recovery.” Iko v.

Shreve, 535 F.3d 225, 241 (4th Cir. 2008). Mere negligence is not enough to meet this bar;

rather, the treatment of an inmate “must be so grossly incompetent, inadequate, or

excessive as to shock the conscience or to be intolerable to fundamental fairness.” Spann

v. Perry, No. 1:18-cv-175-MOC-WCM, 2021 U.S. Dist. LEXIS 68755, at *48-49

(W.D.N.C. Apr. 8, 2021) (internal quotations and citations omitted), aff’d, 2022 U.S. App.

LEXIS 26351 (4th Cir. 2022). Plaintiff cannot meet this burden.

       First, the record evidence does not establish that the conditions of Plaintiff’s

confinement objectively inflicted harm. See Williams, 462 F. App’x at 353. SUMF ¶¶ 35,

43, 47, 49. Second, there is no evidence whatsoever that Defendants were deliberately




          Case 5:21-ct-03270-D Document 270 Filed 11/17/23 Page 22 of 30
indifferent to Plaintiff’s health or safety. Rather, the Defendants’ conduct reflects

respectful and compassionate adherence to policies designed to promote the safety and

wellbeing of offenders, correctional officers, and the public. SUMF ¶¶ 1-10, 13-20, 27-

29, 32-35, 39-49.

         Even if Plaintiff’s Eighth Amendment claims were not barred by Eleventh

Amendment immunity and qualified immunity, they fail as a matter of law. Summary

judgment for Defendants is proper.

   IV.      Plaintiff’s ADA and § 504 Claims Also Fail as a Matter of Law.

         There is no support for Plaintiff’s claims under the ADA or the Rehabilitation Act

under the governing law. First, as explained above, Plaintiff’s ADA claim is brought

against Defendant Ishee in his official capacity and is barred by Eleventh Amendment

immunity. See § I supra. Even if the DPS Secretary was not entitled to Eleventh

Amendment immunity, Plaintiff cannot establish that the denial of MOUD or her allegedly

insufficient postpartum care violated either federal statute.

         The elements of a claim under either the ADA or § 504 of the Rehabilitation Act

are the same. Plaintiff must establish that she (1) has a disability, (2) is otherwise qualified

for the benefit in question, and (3) that she was denied the benefit solely on the basis of her

disability. See, e.g., Doe v. Univ. of Md. Med. Sys. Corp., 50 F.3d 1261, 1264-65 (4th Cir.

1995).

         As to NCCIW’s policy to discontinue buprenorphine after Plaintiff was no longer

pregnant, Plaintiff fails to forecast evidence demonstrating the elements of either an ADA

or § 504 claim. Plaintiff did not qualify for continued MAT because she was no longer



          Case 5:21-ct-03270-D Document 270 Filed 11/17/23 Page 23 of 30
pregnant, not because she had a disability. See id. Pregnancy is not a disability. See Parker

v. Children’s Nat’l Med. Ctr., Inc., ELH-20-3523, 2021 U.S. Dist. LEXIS 235885, at *36

(“With near unanimity, federal courts have held that pregnancy is not a ‘disability’ under

the ADA.”) (citations omitted). Indeed, the fact that Plaintiff received buprenorphine while

she was pregnant undermines her claim that she was denied MAT because of her OUD

disability. See Chamberlain v. Va. Dep’t of Corr., 2021 U.S. Dist. LEXIS 170554, at *33

(granting summary judgment for defendants and noting that plaintiff’s acknowledgement

that some individuals with OUD (e.g., pregnant inmates) received MAT undermined his

claim that defendants denied him MAT because of his OUD).

       Medical providers and correctional staff at NCCIW complied with all applicable

laws, policies, and authorized treatment options for OUD in the correctional setting at the

time of Plaintiff’s incarceration. Defendants provided daily medication throughout the

course of her pregnancy, provided consistent physical and mental health check-ups,

prescribed and provided appropriate medications, and monitored and treated her for any

symptoms or discomfort she experienced as the result of her pregnancy, OUD, and mental

health conditions.

       Plaintiff does not aver that she did not receive medical care; she simply asserts that

she did not receive her preferred medical care in the form of continued buprenorphine. “An

inmate’s medical treatment or lack of medical treatment, however, does not give rise to an

ADA claim.” Id. Even where a treating physician agrees that a plaintiff’s preferred

medication might be appropriate for the plaintiff “in the right setting,” if that physician

determines the medication is not medically necessary, no claim under the ADA or § 504



         Case 5:21-ct-03270-D Document 270 Filed 11/17/23 Page 24 of 30
exists. Id. at *34. “[D]isagreement with a reasoned medical judgment is not sufficient to

state a disability discrimination claim.” Id. at *33 (entering summary judgment for

defendants on plaintiff’s ADA claim that he is not receiving the “proper” or preferred

treatment for opioid use disorder).

       Plaintiff also received mental health services postpartum, despite her allegations of

inadequate postpartum mental health care. SUMF ¶¶ 46-49. The record evidence

demonstrates that she was treated appropriate and received all forms of treatment that her

clinicians deemed medically necessary. SUMF ¶¶ 46-49. Accordingly, the denial of

medical care (assuming care was denied) is not based on Plaintiff’s disability but rather on

the medical necessity of the treatment. Id. See also Koon v. North Carolina, 50 F.4th 398,

416 (4th Cir. 2022) (finding prison officials did not violate the ADA with deliberate

indifference and therefore plaintiff was not entitled to a jury trial).

       Again, Plaintiff’s claims under the ADA and § 504 of the Rehabilitation Act merely

assert disagreements with the medical decisions and care provided, but do not actually

equate to a violation of law. These claims should be dismissed both on qualified immunity

grounds and because Plaintiff has failed to state a claim for relief under either statute. See

Table 1D.




         Case 5:21-ct-03270-D Document 270 Filed 11/17/23 Page 25 of 30
Table 1D

                                 SUMMARY OF PLAINTIFF’S CLAIMS

                         Official      Individual
     Defendant                                                                Claims
                         Capacity       Capacity

DPS Secretary Ishee          X                        • Eighth Amendment violation for shackling
                                                      • Eighth Amendment violation for denial of MOUD
                                                      • ADA violation for denial of MOUD
                                                      • Rehabilitation Act violation for denial of MOUD
                                                      • ADA violation for denial of mental health treatment
                                                        postpartum
                                                      • Rehabilitation Act violation for denial of mental
                                                        health treatment postpartum
Benita Witherspoon                          X         • Eighth Amendment violation for shackling
                                                      • Eighth Amendment violation for denial of MOUD
Warden Perry                 X                        • Eighth Amendment violation for shackling
                                                      • Eighth Amendment violation for denial of MOUD
Dr. James Alexander          X              X         • Eighth Amendment violation for denial of MOUD

Dr. Gary Junker              X              X         • Eighth Amendment violation for denial of MOUD

Dr. Elton Amos               X              X         • Eighth Amendment violation for denial of MOUD
                                                      • Eighth Amendment violation for denial of mental
                                                        health treatment postpartum
Kavona Gill                                 X         • Eighth Amendment violation for shackling

Tamara Brown                                X         • Eighth Amendment violation for shackling

Nikitia Dixon                               X         • Eighth Amendment violation for shackling

Tammy Williams                              X         • Eighth Amendment violation for shackling

Shelda Brodie                               X         • Eighth Amendment violation for shackling

Tianna Lynch                                X         • Eighth Amendment violation for shackling

Lorafaith Ragano                            X         • Eighth Amendment violation for shackling


        Legend: Claim is barred by Eleventh Amendment immunity
                Claim is barred by qualified immunity
                No genuine dispute of material fact exists and claim fails as a matter of law




      Case 5:21-ct-03270-D Document 270 Filed 11/17/23 Page 26 of 30
   V.      Many of Plaintiff’s Requests for Relief Fail as a Matter of Law.

        Even if Plaintiff could present evidentiary and legal support for her claims, which

Defendants do not concede, she would not be entitled to much of the relief she seeks from

this Court. Even in the event the Court does not grant Defendants’ motion for summary

judgment, it should limit the damages Plaintiff may be allowed to pursue at trial.

               A. Plaintiff cannot recover compensatory or punitive damages under
                  the ADA or the Rehabilitation Act.

        Punitive damages are not available under the ADA or the Rehabilitation Act. See,

e.g., Barnes v. Gorman, 536 U.S. 181, 189 (2002). Monetary damages for ADA or

Rehabilitation Act violations are not routinely awarded either, since plaintiffs can only

recover compensatory damages if they prove that public officials intentionally

discriminated against them because of their disability. See, e.g., Koon, 50 F.4th at 400.

Without forecasting any evidence that Defendants intentionally discriminated against

Plaintiff in violation of the ADA or § 504, Plaintiff cannot recover any compensatory

damages.

               B. Plaintiff’s requests for injunctive relief are moot.

        In addition to the declaratory judgments, damages and attorneys fees Plaintiff seeks,

which the law does not support, Plaintiff also asks for injunctive relief. Plaintiff’s requests

for injunctive relief are moot for several reasons.

        First, DAC policy and North Carolina state law, modified since the commencement

of Plaintiff’s Complaint, already prohibit shackling during the second and third trimester

of pregnancy, during labor and delivery, and during the postpartum recovery period.




         Case 5:21-ct-03270-D Document 270 Filed 11/17/23 Page 27 of 30
N.C.G.S. § 148-25.2(a), amended by HB 608/SL 2021-143. Moreover, Plaintiff is no

longer incarcerated at NCCIW and is no longer pregnant or in her post-partum recovery

period, and so lacks standing. See Stafford v. Baker, 520 F. Supp. 3d 803, 813 (E.D.N.C.

2021); Rendelman v. Rouse, 569 F.3d 182, 186 (4th Cir. 2009) (holding that, “as a general

rule, a prisoner’s transfer or release from a particular prison moots his claims for injunctive

and declaratory relief with respect to his incarceration there.”). The requisite personal

interest that must exist at the commencement of the litigation, i.e., standing, must continue

throughout the litigation or the claims become moot. Stafford, 520 F. Supp. 3d at 813. See

also SAS Inst., Inc. v. World Programming Ltd., 874 F.3d 370, 389 (4th Cir. 2017) (“A

claim is moot when the parties lack a legally cognizable interest in the outcome.”).

          Finally, federal courts must ensure the framing of injunctive relief does not extend

beyond those “required by the precise facts” of a Plaintiff’s claim. Stafford, 520 F. Supp.

3d at 813 (quoting Friends of the Earth, Inc. v. Laidlaw Env’t. Servs. (TOC), Inc., 528 U.S.

167, 193 (2000)). Where there is no effective relief that the plaintiff has not already

received, her claim is moot. Id. (citing SAS, 874 F.3d at 389)).

          Plaintiff’s requests for injunctive relief are moot and should be dismissed as a matter

of law.

                                         CONCLUSION

          For the reasons outlined above, Defendants respectfully pray that the Court enter

summary judgment in favor of Defendants and dismiss Plaintiff’s Second Amended

Complaint with prejudice.




           Case 5:21-ct-03270-D Document 270 Filed 11/17/23 Page 28 of 30
Respectfully submitted this the 17th day of November, 2023.


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 Case 5:21-ct-03270-D Document 270 Filed 11/17/23 Page 29 of 30
                        CERTIFICATE OF COMPLIANCE


      I hereby certify that this memorandum of law does not exceed 8400 words, in

compliance with L.R.7.2(f)(3)(A). Based on the word count generated by the word

processing software used to draft it, the foregoing memorandum contains 7323 words.


      This 17th day of November 2023.

                                              /s/ Laura H. McHenry
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        Case 5:21-ct-03270-D Document 270 Filed 11/17/23 Page 30 of 30
